                                      CASE 0:22-cr-00076-KMM-TNL Doc. 13 Filed 06/14/22 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )         COURTROOM MINUTES - CRIMINAL
                                                             )           BEFORE: JOHN F. DOCHERTY
                                          Plaintiff,         )               U.S. Magistrate Judge
                                                             )
   v.                                                        )   Case No:           22-cr-76 KMM/TNL
                                                             )   Date:              June 14, 2022
 Shevirio Kavirion Childs-Young (1),                         )   Video Conference
                                                             )   Time Commenced:    1:34 p.m.
                                          Defendant,         )   Time Concluded:    1:43 p.m.
                                                                 Time in Court:     9 minutes

APPEARANCES:

   Plaintiff: Kimberly Svendsen, Assistant U.S. Attorney
   Defendant: Doug Olson, Assistant Federal Public Defender
                         X FPD          X To be appointed

   Date Charges Filed: 4/26/2022

Offense: conspiracy to use, carry and brandish firearms during and in relation to a crime of violence; aiding and
abetting carjacking; aiding and abetting interference with commerce by robbery; brandishing a firearm during a
crime of violence

   X Advised of Rights

on          X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is June 16, 2022 at 10:30 a.m. via video conference before U.S. Magistrate Judge John F.
Docherty for:
 X Detention hrg        X Arraignment hrg


Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                    s/SAE
                                                                                                Signature of Courtroom Deputy




M:\templates\Initial Appearance.wpt                                                                              Template Updated 06/2013
